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                              BNITED STATES DISTRICT CODRT
                                         IN THE
                              SOUTHERN DISTR ICT OF FLOR IDA


ROGERIO CHAVES ScoTTos,    )                          CASE NO: 17-CV-62428
                MovANT,    )
                           )                                 FILED BY                  D.C.
                           )
           VS              )
             .             )                                      MAï 17 2218
                           )                                       ANGELA E.NOBLE
UNITED STATES OF AMERICA )                                        CLEIRK U s.DIST CT
              RESPONDENT , )                                      s.D.OFFI
                                                                         .
                                                                         A.-MiAMi
                         . )

                                   (SUPPLEMET MEMORANDPM)
                     MEMORASDUM OF LAW IN SVPPORT OF MOVANT'S
                       APPL ICATION PPRSPANT T0 SECTIOX 2255


    Come now, the Hovant Rogerio Scotton, by and through pro se, respectfully moves

this Court with this memorandum of law in support of Movant's applioation pursuant to j
2255 to vacate, set aside his conviction and dismiss this case in the interest of
justice, or the alternative to a new trial.
     It soon to emerged that the entire process in this case was fraught with collusion
and tained by conspiracies in this orchestrated prosecution involving, officers of the
Court, Hovant's attorneys being ineffective during pretrial, sentence and appeal for
having failed to properly investigate this case and provide the Hovant with the minimum
effective legal assistance which is guaranteed by the sixth amendment right.
    lhe Movant will prove that the evidence introduced in trial, the contradictory
testimony given by the government witnesses and the charges itself lodged on the
indictment was a fruit-of-the-poisonous-tree which led to this unlawful conviction
under constitution laws.




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    Ihe Hovant also will establishes numerous ineffective assistance provided in this
case by attorney Doakes, Armstrong, Adelstin and Klugh, that along with prosecutorial
misconduct which consequently violated the Movant's Fifth, Sixth and Fourteenth
amendment rights clause to the U.S. constitution.
     In this case, the unlawful evidence subnitted by the government will also

establish that the verdict in this case was obtained through a bias jury, wrongful
charges and perjured testimony given by the government witnesses.
    Ihe Hovant will soon prove others egregious constitution violation imputed
directly by the prosecutor and unfortunately as well as the Court.



                          1. #TATEMENT OF THE CASS

     In this case, Mthe-first-of-its-kinds novep', the FBI agent Vanbrunt arrested the
Hovant Rogerio Scotton on Harch 15, 2012, after obtaining a unlawful indictment in

violation of his constitutional rights and Fed. R. Crim. P. 12(b)(3)(B).
    Consequently, as a result of the government's orchestrated arrest, the Movant was

charged with the alleged offense pursuant to 18 U.S.C. 1341, (Mà1L FRALD) in whioh
the government allege that the Hovant committed a offense by the meaning of false and
fraudulent statement to obtain ship accounts from FedEx, USP and DHL companiesj in

order to ship packages connect with his online business. (See dkt
    0n June 18, 2013, a superseding criminal indictment was filed by the government
dismissing the original indictment. In addition to the wrongful 26 counts of mail

fraud, the government added one extra count of mail fraud pursuant to j 1341.
    On July 18y 2013, the Movant was charged with a second superseding indictment

with now twenty seven counts of mail fraud pursuant to j 1341 and two identical counts
of making false statement to a government agency pursuant to 18 U.S.C. j 1OO1(a)(2).
See, Dkt
        January 26, 2014, trial began and the Movant was forced to represent himself




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despite having requested on numerous occassion for the Court to appointed him

attorney.
     Ihe Movant was denied the right to counsel after two retained attorney withdrew
from the case due to Hovant's lack of funds and after one public defendant and two-
Court appointed attorney whom did not provide the Movant with any meaningful legal
assistance.

     On February 26, 2014, the Hovant was convicted by a bias jury as charged. The
Movant filed his timely appeal notice and, on April 12, 2016, the Court of Appeals

affirmed the conviction after unprecedented seven orchestrated extension requests made
solely by the appeal attorney that along with his ineffective assistance provided
under conflict of interest.
     On October 2O, 2016, the Movant submitted his petition for Writ of Certiorari
without the benefit of a counsel which never passed the Supreme Court Clerk's table
and was denied on December 12, 2016.
    On December 12, 2017, the Hovant filed his application pursuant to 28 U.S.C.
2255 which maliciously and orchestrated was dismissed and unlawful denied.

    lhe Movant objected the Magistrate Judge report and informed the Court that the
request made by the Hagistrate to dismiss the motion was unlawful and in violation of

the Supreme Court ruling in CASTRO v . UNITED STATES.

    Ihe District Court has refused to review the objections made by the Movant and
malicious denied the Movant j 2255.
    lhe Hovant's timely appeal to the District Court orchestrated unlawful denial
which the government concorded with Movant's argument on August 24, 2018.
    On March 7, 2019, the Appeal Court for the Elevent Circuit stated exactly the
same argument mentioned by the Movant in his motions and vacated and remanded the

District Court's denial of the Movant's j 2255.
    Ihe time now came after diligent searching to correct and vacate this unlawful and

deceitful prosecution that has been admitted and presented to the jury, after serving


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seven years in prison, the Movant is hereby requesting justice and the reversal of this
orchestrated prosecution.


          II. GROUND ONE : WHETHER MOVANT WAS DENIED EFFECT IVE ASSISTANCE BY
                           H1S ATTORNEYS DURING PRETRIAL VIOLATED H1S
                           CONSTITUTIONAL RIGHTS

    Ihe Hovant contends that under the Sixth Amendment he          entitled to receive
effective assistance of counsel in a criminal prosecution.
     In this case, the Hovant was denied the guarantee rights by five Court appointed

attorneys whos legal performance fell bellow the objective standard of reasonabless.
    Ihere was no one single investigation made by those Court appointed attorneys in
this case. They did not interview a single government or defense witnesses. Ihey did not
pursue any important crucial leads made available to them by the Movant.

    Petrial investigation and preparation are key to effective representation by
counsel. Ihe attorneys in this case performed none of those essential tasks. Ihe
attorneys did not interview or attempt to interview a single witnesses prior to trial.

The attorneys failed to inspect the government discovery. In fact, during trial the
government introduced unlawful and inaccurate spreadsheets which claimed to have been
given to Movant during pretrial. lhose cds were empty.
    Below , the Movant will outline numerous ineffectiveness which have infected this
entire case based on the attorney's blunder and negligence. tet us turn to the first

ineffectiveness claim.


         A) PUBLIC DEFENDANT DOAKES
    Ihe Movant contends that he made available for the attorney on many occassions
important leads and critical witnesses that would provide crucial testimony and evidence
which could reasonably result in a different outcome          the case. These materiak
evidences and witness testimony would have established that the Movant had always used a
third party shipping company which was located in Atlanta, Georgia. In fact, attorney
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Doakes had been provided with a affidavit from the third party company owner, Osvaine

Duarte to the effect.
    Numerous witnesses including, Junio Silva, Snmnra Moreira, would provide crucial
testimony that the knew Osvaine Duarte, and that he offered shipping services to Brazil
by air and sea.
    Hs. Moreira would testify that many times she contacted Mr. Duarte to inquire about
shipping prices for a package and made deposits into Mr. Duarte check account.

         Silva, would testify the same and that went on a boat trip with Movant and
Duarte in 2009. Mr. Silva also would have testified that Hovant's marriage was in fact
legitimate as he spent numerous times in the Movant's house during trips he made from

Boston to Florida.
    Another proof of the attorney's ineffective assistance provided to Movant was when
the attorney attempted to force him to enter into a guiltyplea despite the Nbvant wishes
to go to trial. Moreover, the attorney Doakes informed the Movant that the government
had a document that would link the Movant to a specific package shipped under the
alleged fraudulent account. lhis package, the attorney alleged was shipped from a bike
store in California with the final destination in Brazil. Attorney Doakes claimed that
she had contacted the bike store in California and asked the bike store whether they had
done any business with the Movant. Ihe bike store denied this. Attorney Doakes further

alleged contacted the individual in Brazil, to whom the bike store sold unkown
merchandise and shipped to Brazil. Yet, the individual denied ever doing any bua siness
transactions with the Movant or even knowing him.
    lhe Movant than asked to review the documentation related to the California bike

store package and the attorney stated that she didn't have it (BRADY). The Movant than
asked the attorney whether she had investigated how the bike store shipped this package
and which company was used to shipped to Brazil. No response was given by this attorney
rather the attorney adivised that the Movant should consider entering into a plea
kecause the government stated that they have away to link the package to Movant.
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Here in this particular issue, the attorney failed to obtain important documentation
from the bike store as well as from the individual in Brazil, thereby providing
ineffective assistance to Movant.
    Attorney Robert Abreu turned over al1 dicovery and case files to attorney Doakes.
Anong those files, attorney Doakes received the sworn affidavit and video from Osvaine
Duarte which attorney Doakes' office made an official translation. The Hovant asked

attorney Doakes for a copy      the translated affidavit and the attorney denied the

request.
    Attorney   Doakes failed   to interview Osvaine Duarte who possessed numerous
exculpatory document, despite many requests by the Movant.
    lhe attorney further failed to inform the Movant his rights to obtain Duarte's

compulsory material testimony under a Rogatory Letter. On another different occasion,
the Movant was in a meeting with attorney Rhonda Anderson at FDC Miami in order to
inquire the possibility of probono attorney representation. During this meeting,

attorney Doakes was with other clients on the same floor at FDC Miami. Upon seeing
through the glass wall that Hovant was talking to another attorney (Hs. Andersonly Ms.
Doakes barged into the room and began to engage into         verbal confrontation with

attorney Anderson. Thus, knowing that Hs. Doakes had never provided the Movant with any
effective legal assistance, now she precluded the Movant from possibly receiving probono
legal assistance.
    On one occasion, the attorney showed that she was more concerned with the Miami
Heat game which she attended on the night before, than it anything substantial toward
the Movant case as she engaged in this conversation with her investigator during this
visitation at FDC Miami.
    Hovant contends that he was denied effective assistance by this attorney, in which
violating his rights and such guarantee. lhus, the Fbvant sixth amendment were violated.




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            B) CJA XTTORXEY LANCE ARMSTRONG

     Ihis particular attorney met with the Movant only two short occasions. 0n each
occasion the attorney had no documents with him, no legal pad, or even a pen. He also
informed the Movant that the federal judicial system is corrupt and that the conviction
rates are 98:.
     During the second visitation at FDC Miami on Sunday afternoon, the Hbvant noticed a
strong smell of alcohol coming from the attorney who confessed to have being fishing on
this day.

     Nonetheless, no conversation in regards to discovery and witnesses took place.
Rather, the attorney began to brag about how he had won his trial on another case.
    Attorney Armstrong did not interview any witnesses nor did he attempt to interview

any witnesses before the trial. lhe attorney did not inspect the government discovery or
the Hovant's file. In fact, 6 cds was proved to be empty during trial which clear shows

that not one attorney ever inspect any discovery cd's. (see trial transcripts, DE-511 pg
42; DE-511 pg 126, DE-511 pg 128, and DE-47O pg 90-91).
    Ihe attorney further called the Movant's family for       meeting inside the Apple

Bees restaurant in Hollywood, Florida in order to convience the Hovant to plead guilty

even known the attorney has never attempted to create a minimum possibility to a defense
theory.
     Based on the attorneyfs failure to prepare for trial, failure to interview

witnesses, failure to provide the Movant with a investigator, failure to inspect the

discovery cds so the Court could be properly informed that the sane was empty, this
attorney violated the Movant sixth amendment rights as he has provided the Movant with
ineffective assistance and consequently the Movant was deprived of a fair trial.
     Consequently to attorney Armstrong blunt and negligent conduct, the Fbvant
requested the Court to withdraw the attorney from the case.
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         C) CJA ATTORNEY STUART ADELSTEIY

    Ihe first meeting with this attorney was at Broward county jail in January 2013. Ihe
Attorney introduced himself and than informed the Fbvant that he would not file any
motion for bail for the Movant and that he will review the discovery and talk to Hovant
on another day to dicuss on how proceed with the trial.
     During the second visitation at FDC Miami, attorney Adelstein, after spending more
than one hour with other seven clients, called the Movant inside the legal room to tell

the Movant that he has received the discovery from the government which he was curently
reviewing and furthery would come back on the following week.
     0n the following week, the same scenario occurred. After spending hours with other
clients, the attorney called the Movant and informed him that he has contacted the

government office to request the discovery information. This, was despite suggesting in
the previous week that the attorney was reviewing the discovery.
    Nonetheless, the Movant provided the attorney with a witness list to be interview in
order to obtain important material and exculpatory documentation. lhe attorney denied
saying that he must review the discovery first. lhe attorney then kagan telling the'
Movant about FED conviction rates and that the Movant should consider to a guilty plea.
    The Movant then asked the attorney to file a motion requesting bail which the

attorney responded that Movant was facing 20 years and should make a deal to plea guilty.
lhe Hovant then requested the attorney to withdraw from the case. Ihe attorney then
changed the conversation and told the Movant that he would look into the possibility of
bail. Instead to communicated with the Hovant and to file a motion to Court for bail as
was requested     many occasion, the attorney sent bail bondsman, Rodriguez, to the
Hovant's family apartment complex. Although no motion for bail was filed, the Bail

bondsman took $16,000.00 from the Movant's family by stating that him and the Movant's
attorney would get the Movant out on a $100,000.00 nebbia bond. Neither the motion for
bail was filed or granted. Ihe $16,000.00 was never returned to the Movant's family and
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he was forced under this negligence and fraud, to endure two years incarceration without

the right to bail. (NO MUCH 1D SAY ABOUF FAIR PROCESSI).
     Ihe Hovant than filed a lawsuit against the attorney and a motion for the Court to
withdraw him .

     Here in this case, attorney Adelstein had not interviewed a single witnesses nor
attempted to do it. The attorney had not reviewed any discovery cd's nor had he attempted

to do such.      fact, during the trial the Movant objected government introduction of
summnry spreadsheets which was introduced in violation of rule 1006 and because the cds

were blank. (Seey DE-511 pg 42, DE-511 pg 126, DE-511 pg 128, and DE-47O pg 90-91).
     In trial the government even suggested that the Movant attorneys may have made a

copie of the cds and give blanks to the Movant without inpected first. (See, DE-511 pg
130-132, DE-47O pg 93).
    lhe Movant contends that this attorney provided him with no possibility of an

effective defense. Ihus, the Hovant was deprivate to effective attorney assistance and
consequently his sixth amendment rights clause of the      constitution were violated.


         D) cJA ATTORNEY JASOS KREISS

    Attorney Kreiss was appointed as a standby counsel during the part of pretrial and
during the trial.
    As a standby counsel, he should be ready to take over the Nbvant's case whenever

requested by the Movant or Court. ( See, UNITED STATES v. VAUCH ALFXANDER CROPPER, 2017
U.S. Dist. Lexis 53569, case no, 2:17-CR-O3O-VEH-IMP-1 (April 7, zol7ltNorthern District
of Alabanal).
    Here in this case, sentencing transcripts clear show that the attorney had never
inpected the discovery cds, interviewed any witnesses, or pursued any leads given by
Movant. During the sentencing hearing, the attorney stated that the Court had not allowed
him to prepare for trial. In fact, the sentencing transcript review that the attorney

complained to Court that he was ordered not to review any discovery because he would not
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be compensated. The Court then told the attorney that this is not correct, but that he
was not prepared for trial.
     lhe rule requires that during the trial the standby attorney shall sit behind the
Hovant and be available to answer questions from the defendant.

     In this case, the standby attorney was order by the trial Judge to be seated in the

back of the Courtroom. (See, DE-511:4-16-25, DE-511:5-13).
     Ihe attorney was not fully prepared for trial as he was required to rnmnin so, as to
take over the defense of the case. He should have acted in a purely capacity before
trial.

     lhe Movant contends that during a meeting at Patm Beach county jail, the standby
attorney advised the Movant that he should not worry about trial because there were many
violation in this case which would be reversed on appeal. Ihus, the attorney did not make
any attempts to inspect the case or even the cds which contained the unlawful inaccurate
spreadsheets. Those spreadsheets ultimately, cost the Movant a high sentence. Had the

attorney inspected the spreadsheets Feg accuracy as requested by the Movant before, or
properely prepare himself for the sentencing hearing, there is substantial possibility
that the Movant would have received a much lower sentence or even a new trial.
     Ihe Hovant contends that he was deprived the right to a standby attorney during
trial because the attorney was ordered to seat in the back of the Courtroom and during
the trial he was seated in the kack with his laptop working on his other cases.
     For the sentencing, the attorney failed to inspect the discovery cds so he could

appropriate object and inform the Court that the original records regarding the summnry
spreadsheets did not exist. Had the attorney inspected the cds, he would have proven to
the Court that the suMnary was in fact, inaccurate and repeated.
    Nonetheless, the attorney ineffectiveness cause the Hovant to be sentenced, as a
first offender, to the high end of the guideline level under numerous violations of the
constitutional rights.
    Despite many orchestrated and false hearsay statement made on record             the


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attorneys, the record of this case cannot shows any evidence that the attorneys provided
any tasks required by law.
     lhe Movant further sent to all the attorneys by certified mail,          information
affidavit as well as notice of default. The attorneys never responded. Hence, silence

equates to truth. If this Court still stand-by justice, this conviction must be vacated
and the case set to a new trial.


           111.     GROUND TWO'I :WHETHER THE APPEAL ATTORNEY INEFFECTIVE
                                ASSISTANCE DURING THE DIRECT APPEAL VIOLATED THE
                                   MOVANTWS SIXTH AMENDMENT RIGHTS CLAPSE T0 THE
                                   U.S. CONSTITUTION .

    Ihe appeal attorney failed to effectively appeal Hovant's conviction. In fact,
before filing his brief to the Court, the attorney did not review any important
informntion provided to him by the Movant. The attorney had not inspected the accuracy of
the spreadsheets and worse, lost part of the Hovant's case file which the attorney

himself admitted.
    Ihe Hovant contends that the attorney provided him with ineffective assistance and

consequently, the Movant was denied the opportuity to prove his innocence.
     Subsequently to the attorney failed to effectively conduct the Hovant's appeals, he

denied the Movant the right to a fair and effective appeal. The Movant right to a
effective attorney were violated.
     Below are numerous ineffective assistance provided during the appeal by the attorney
Klugh who refuse to include in his brief numerous other claims requested by the Movant.


            A) FAILED TO FILE A MOTION T0 RELEASE PENDING APPEAL

    The record and evidence shows that in many occasions the Movant requested attorney
Klugh      file a motion for release pending appeal which            under the Movant's

constitutional rights despite his eligibility or not. Hence, the attorney misled and lied
to the Movant as well as failed to file such motion.

    0n July 9, 2014, attorney Cynthia Rodriguez came to FDC Miami to see the Movant.


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During this meeting, the Hovant provided attorney Rodriguez all the discovery cds which
included those blanks, and requested the attorney inpect the accuracy of the suanary
spreadsheets. Also in the same meeting, the Movant provided the attorney with a motion
for release pending appeal and requested the attorney Klugh to file such. No cds were
inspected and no motion for bail was filed.

    On November 17, 2014, the Movant sent to attorney Klugh an appeal brief and a
motion for kcil which the Movant drafted himself. The attorney reply on December 2, 2014
and stated that he would prepared himself a motion for bond and would sent for the

Hovant to review and approve. Once completed, he would filed said motion.
    The attorney once again lied and failed to prepared and file any motion for bail.

And on January 2015, the Hovant again requested the attorney to file a motion for bond
and also to include in his appeal brief the claims Movant had drafted himself before.
Ihe attorney responded that his first priority was to file the brief and once filed he

would file the motion fo bond. This, depite that on December 2, 2014, he stated that
would prepare the motion for the Movant review.
    On September 25, 2015, the Hovant again sent another letter to the attorney
requesting him to file his motion for bond and that has been 17 months since the notice
of appeal was filed and no motion of bond nor the brief was filed to the Court. On

September 25, 2015, the attorney responded that it was not good idea to seek bond until
at least the Court granted an oral argument in the appeal. This, despite that Movant
request on many other occasions he wanted to exercise his rights to release pending

appeal, and despite that the attorney himself stated that would filed it. Thusy the only
thing the attorney has done here in this case, was lying to the Movant and misled him
until the end of the appeal.


            C) ATTOFSEY MISPLACED A5D LOST MOXAXT'S CASE FILE

     The case record and the appeal record clear shows that the attorney misplaced and
lost important case files. In fact, when the Movant requested from the attorney his
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entire case file, the attorney response was that he never had such. (See, Dkt. 607, 608,
610, 611 and 622)(see also, motion to compel attorney on appeal dkt).
    lhe attorney admitted that did not have the Movant files at one point which clearly

proves that the attorney did not inspect the discovery cds or files as requested by the
Movant in order to prove that the summary was not accurate. (See attorney letter and
motion filed under case no, 17-CV-62428-FAM exhibit 7).
    lhe attorney failed to pursue important leads given by the Movant which would prove
that the sugmnry was not accurate and that the records did not exist.
    The attorney lied and failed to allow the Movant to review the brief before it was
filed into the Court as requested by the Movant on many occasions, by letter, phone and
email. Worse, the attorney lied to have included the Movant claims in his appeal brief.
    Ihere can be no denial that this attorney was appointed to this case for a reason.
lhe reason was not to defend the Hovant or effectively appeal his conviction. The

attorney malicious orchestrated plan to delay the appeal upon requested        frivolous
extensions which unprecedente was granted by the Appeal Court. There is clear
orchestrated conduct made in this appeal by the attorney and the government was to
prevented a11 the violations be reviewed by the Appeal Court which consequenlty had lead
to the conviction being affirmed.


          D) ATTORNEY YAILED T0 FEQUEST TWO LEVEL REDUCTION PURSUANT TO
AMENDMY/T 791

      On December , 15y 2015, th e Movant filed              motion to reduce his
sentence pursuan t to amendment 791 after th e appeal attorney refused to
include in h is appeal brief a relief that would reduce Movan t's guideline

    two kevel.
      On December         2015, th e Court denied w ithout allowing the Movant
to exercise his due process righ ts to reply to the government allegations

in opposition .


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    The appeal attorney knew that the Hovant's conviction was not final since his
direct appeal was pending and had clear knowledge that the Movant would be eligible for
the two level reduction pursuant to amendment 791 of the finance table. He ignored and
failed to request this relief under his appeal brief. Thus, the attorney clearly
provided ineffective to Movant and consequently violated his sixth amendment rights.


             E) REFUSE TQ APPEAL LOWER COURT DENIAL THE MOVANT'S COMPUVSOFY
RIGHTS TO INTRODUCE WITNESSES

    Before trial, the Movant sukmitted to the Court a list requesting the U.S.
Marshals to subpoena his witnesses and which the Court granted after conducting material
examination of each witnesses. A1l togethery 40 witnesses were subpoenaed.

    Four weeks into trial, the trial Judge called the Movant in Court to conduct again
  material examination of his witnesses which was already granted and subpoenaed. The

trial judge now denied the Hovant his compulsory rights to bring to testify,
witnesses.
    The Movant requested the appeal attorney in many occasions to appeal this
violation. However, the attorney failed to do it. Thus, he provided the Movant

ineffective assistance and the Movant sixth amendment consequently were violated.


             E) GIGLIO VIOLATIOS
        lhe attorney failed to appeal the igmunity violation regardtng the Movant
wife's testimony in his appeal briefy as requested by the Movant.

     2) RECRUIT CONVICT ISMATE: The attorney failed to include in his appeal brief this
other GIGLIO violation, in which a convicted inmate received a sentence reductiony who
government recruited to sabotage the Movant defense, by suppressing important documents
from his cell and to obtained important information for the government to used during
trial. Xhe appeal attorney failed to expolse this prosecutorial misconduct, thereby, he
has provided ineffective assistance to Movant.
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              THE ATTORNEY FAILED TO CHALLENGE THE HAIL FRAUD OFFESSE UNDSR
18 U.S.C. j 1341 UNDER HIS APPEAL BREIF AS REQUESTED BY THE MOVAXT

    lhe government altedged that the Movant comitted mait fraud by shipping thousands
of packages to his clients without paying the shipping services to FedFx, UPS and DHL

companies. Hence, those companies, under the 27 counts, have not suffer any losses, and
are not the recipient for purpose of the mail fraud statute. Ihe attorney failed to

appeal this important issue, therefore providing the Movant with ineffective assistance.


           H) THE ATTORNEY FAILED T0 INCLUDED IN H1S APPEAL MFIEF THE
WRONGFUL ENHANCEMENT FOR OBSTRUCTION OF JUSTICE AND SOPHISTICATED MEANS

AS REQUESTED BY THE MOVANT


    The Movant made available for the appeal attorney important information which would

clearly shows that the Hovant's enhancement for obstruction of justice and sophisticate
means was imposed unlawfutty and throughout continue bias in this case. Thus, the
attorney failed to included this issue in his appeat brief, therefore, he has provided

ineffective assistance to Movant.


                 IV. CRODSD 111: WHETHNR FBI AGENT VANBRPNT VIOLATED THE
                                     MOVANT WS   COMPPLSORY     CLAUSE    TO   A    FAIR
                                     TRIAL

     The appeal attorney Klugh failed to included in his appeal brief that the FBI
illegal called an defense witness and went to the house of the other witness with the
only intent to intimidat those witnesses and prevent them from testifying in trial. The

attorney also failed to included the FBI agent perjured testimony given during the
trial.
         Ron Wolff free unhampered choice to testify was interfered by agent Vanbrunt

illegally and unauthorized phone call to that defense witness which was            already

subpoenaed.
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Ihis particular witness would provide crucial important documentation which would
clearly show that Osvaine Duarte, the person whos Movant used to ship a1l his packages,

bad in fact, used Mr. Wolff FedEx business account without authorization. Hr. Wolff

reported this to the NYPD and Sand Spring PD.
     In preparation for trial, the agent engaged in explicit, unconstitutional acts with
the only intent to prevent the Hovant from presenting exculpatory testimony of key

witness.
    Junio Silva, would have testified that the Movant always used different third party
ship companies to ship sold merchandises to his online clients and further would confirm
that Osvaine Duarte had been one of those companies. Moreover, Junio Silva would have
presented evidence and testimony to affirmed that the Movant marriage was in fact, real.

He would testify that aroung 2011 he spend two weeks with Movant in his house due the
breakdown of the relationship with his wife Mollinedo.
    Agent Vanbrunt entered Junio Silva house days before the trial and told him that he
would have to testify against the Movant and if Junio refused the agent stated that he
could force him under a federal subpoena. Although Junio Silva felt the intimination, he

advise the agent that he would not help him against the Hovant.
     Before, living Junio Silva's house, the agent turned and told Junio Silva that with

him or without him, he would make sure that the Movant would go to prison and after
serving ther term imposed, he would be outside the prison waiting for the Movant to

deport him from the United States. This, same statement was made to Claudia Scotton and
Carlos Colon.
     Ihe agent made his promise and in fact, subpoenaed Junio Silva even after the
Movant was already granted by the Court and had already been subpoenaed by the
Marshals. The Court in the other hand, later denied the Movant from bringing Junio Silva
to testify.
     The agent also did not permit Junio Silva to enter the Courthouse on his date
scheduled to testify. The Orchestrated conduct between the trial Judge and the agent has



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prevented the Hovant from bring excrucial inculpatory evidence and material testimony.
Ihus, the Hovant was denied the compulsory rights under the fifth and sixth amendment to
present witnesses defense in trial. His constitutional rights were violated.



                               V . ARGUMENT AND ABTHORITIES


          HHETRER THE MOVANT WAS DENIED EFFECTIVE A SSISTANCE BY ATTORNEY
               DURING PRETR IAL VIOLATED HIS CONSTITUTIONAL RIGHTS

     The Sixth amendment clause of the U.S. constitution guarantee the Hovant the right
to effective assistance of counsel in criminal prosecution. See, YARBOUGH v. GENFRY, 54O

U.S. 1, 5 (2OO3)(per curiam); See also, PADIIIA v. KYy 13O S. Ct. 1473, 1480-81
(2010)(6th right to counsel is right to effective counsel); MCMANN v. RICHARDSON, 397
                           -    -




U.S. 759, 711 N.14 (197O)(same). The right to effective assistance applies to both,
retained and appointed counsel. See, CUYLER v. SIRLIVAN, 446 U.S. 335, 344-45
                                     -                                          (1980).
     The Movant contends that this guarantee rights entitle him also to effective

counsel during certain m st-indictment-identification procedures. USITED STATES v . WADE,

388 U.S. 218, 244 (1967). In WADE, the sixth amendment rights to effective assistance of
counsel attaches to ''critical stages'' of pretrial proceedings. 388 U.S. at 244. See

also, POUH J,v. AtA, 287 U.S. 45, 57-59 (193O)(period arrangement to trial is ''perhaps
                                                                                   - -    -



the most critical period of the proceedings'' where defendant must have ''sufficiept time

to advise counseln).
     The Movant contends that in this case, attorney consultation with Movant was
totally inadequate. The attorneys failed to prepare Movant's defense competently under

the most tolerant standard of evaluation. lhe attorney failed to obtain legal relevant
facts from Movant, his family and crucial witnesses. The attorneys failed to pursue

obvious leads provided to them by the Movant, and failed to completely garner
corroborating evidence for Movant's defense.

     The Movant contends that        this      2255 he has showed that the attorneys

incompetence has precluded the jury from independently judging the merits of the

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Movant's case. Thus, the Movant is zealously to establish how this Court was tricked

into presiding over and participated in this orchestrated heinous injustice prosecution
and wasted the public resource funds.
     In this case, the Movant asserts that the Court appointed attorneys whom provided
him with the karest     legal assistance which proved to be totally inadequate in his
defense. Investigatioé work not carried out proficiently to explore the full extend and
truth of the facts, lack of trial preparation, failure to inform the Movant of his
rights including the right to obtain crucial witness testimony by means of a HROGATORY

LRrWofk The attorneys ineffectiveness cause prejudice on the outcome of the case and
deprive the Hovant the right to a fair trial.
     Ihe attorney failed completely to garner corrokorating evidence for the Movant to

use to dispute government claims.
    The entire record of this case clearly shows that the attorney omission and failure

to exercise the skills and judgment of a competent criminal defense attorney. They did
not act in a competent manner because no    adequate investigation took place, and the
discovery was not reviewed despite numerous occasions the Movant bad requested a11 the
attorney to do it. In fact, during the trial government introduced summnry spreadsheets

as evidence, in which the Hovant objected to and stated that the sunmary never was
provided to him prior to trial as required by rule 1006. (See trial transcript, DE-
511:126-128-129; DE-470-90-93-94; DE-47O:1O4-1O5). Ahe government alleged that the
summnry and original business records was provided on the discovery cds.

    Ihe attorney incompetence was prejudicial to the Hovant and truly prevented him
from a fair trial WASHINGION v. STRICKLAND, 693 F.2d 1243, 1259 (5th cir. 1992)) GLOVER
v. UNITED CTATES, 531 U.S. $98, 2O1 (2001); WILLIAM y. TAYLOR, 529 U.S. 362, 396-91


1 Attorney Robert Abreu withdrew from this case for the reason the Movant could not afford
to pay his investigator and stated that further investigation must be done in the case before
trial. (See,withdraw hearing in front KMW in August, 2012.


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(2006)9 UNITED STATES v. BRADELY, 42 OHIO St 3d 136 (1986)9 BIANKEN v. JONSO5, 178 F.3d
312, 318 (5th cir. 1992).
    The Movant asserts that he was denied the key elements including investigation and
preparation during pretrial because his Court appointed attorney only offered as a

defense, a plea agreement to avoid tong prison time. RUMHEL v. ESTELLE, 59O F.2d 103,
1O4 (5th cir. 1975)(it is important to interview witness, adequate consultation,
adeqgate investigation); GOODWIN v. BALCOM, 684 F.2d 794, 804-05 (11th cir. 1982)9
UNITED STATES v. PORTERFIELD, 624 F . 2d
                               - -    -    122, 124 (10th cir. 1980)9 WaDD v. ZAHRADRICK,
578 F.2d 980, 982 (9th cir. 1978).
    The attorneys did not performed anyone of the above adequate essential tasks in
this case. It is impossible for any attorney to prepare effectively for a trial without
interviewing witnessesy reviewing evidence, records, discovery or any required task. The
attorneys in this case constantly made promises that they knew to be false and engaged
constantly to advise the Movant to plead guilty despite his wishes to prove his
innocence at trial.

    The Movant asserts that, if the Court for once decide into puting the bias aside
and truly inspect the record         the case, the Movant's claims and evidences already

subnitted in his previously j 2255 dated, December 12, 2017, under the rules and laws,
the Court would be able to have clear determination that Movantls sixth amendment rights
clause to the U.S. constitution were violated. And since such violation is established,

the Movant is entitle to relief without a showing of prejudice. CJDPER v. FITZHARIS, 586
F.2d at 1328.
    The actions of the attorneys concluded that the Movant was denied the right to
effective defense and a fair trial. Thus, the attorney ineffectiveness acts prevented

the fact-finder in this case from independently judging the merit of the case. UNIIED
STATES v. CAMPBELL, 616 F.2d 1151, 1152 (9th cir. 1980) cert. denied, 447 U.S. 910, 1000
S. Ct. 2998 64 L. Fd. 2d 861 (1980). No one single material motion in this case was
filed by the attorneys. Worse, the attorneys misplaced the Movant's discovery,



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evidence, personal files and important documents. Numerous crucial documents and
evidence were misplaced and lost, including the letter and video from Osvaine Duarte, in
which he admitted that he provided shipping services for the Movant business. Attorney
Doakes had the translated letter which showed to Movant at FDC Miami, but refused to
provide him with a copy when requested.

    In one occasion, inmate housing on the same jail with Movant cane back from the
Courthouse (Broward) Jnd informed Hovant that an unidentified female had been seen
shuffling through the Movant unsecure boxes containing his discovery and personal files

which was left by attorney Adelstein unsafed at the Courthouse. This, despite that the
Hagistrate Judge Mattewman odered him to igmediatly turn those files to Hovant at FDC
Miami. Instead doing thaty Jnliciously, those file were dropped-off in open Court during

a hearing next to the prosecutor table. Upon conclusion of the hearing, those koxes
containing important and crucial evidenciary material were placed in a holding cell
which the trial Judge though was a reasonable and proper place for the Movant to review
discovery and prepar for trial as the Judge stated that she was been fair to the Hovant.
In the mean time, the prosecutor who has an office in the same building, was in her
office with many assistance, computer, law booksy and a11 the benefits to prepare for
trial. To make this process fair, why the prosecutor are not placed in the holding cell

     also to Prepar for trial to.
    sonetheless, this unprecedent acts cause numerous intimacy photos of Movant's wife

Mollinedo to be taken from the boxes as well as a familygxbo album including numerous
images that would clearly established the reality of Movant's marriage.

     Here in this j 2255, the Hovant has sufficient evidence to meet the initial burden
of prejudice and inadequancies on counset's performance which seriously have affected
the outcame      the trial. wouD v. HARDNICK, 578 F.2d 980, 982 (4th cir. 1978);
WASHINGTON v. STRACKLAND, 693 F.2d 1243, 1258 (5th cir. 1982); STRICKLAND v. WASHINGTON,
466 U.S. 668, 687 (1984).
     The Movant had no possibility of a proficient and effective denfense which had lead
him to self representation because the attorneys denied him the right to a honest and
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effective assistance. ZAKAZEVSKI v. MCDONOUGH, 49O F.3d 1264, 1267 (11th cir.
zoo7ltquoting IDEM. CAM v. GORE, 761 F.2d 1549, 1551 (11th cir. 1985).
    Ihe Movant contends that his rights bo counsel is so preciously that it cannot be

denied without violating his fundamental principles of liberty and justice which lie at
the base of all civil and political institution. KIMMH .
                                                       MAN v. MORRISON, 477 U.S. 365,
375 (1986)9 MAcMANN v. RICHARDSON, 397 U.S. 759, 771 (1970); POWER v. AIABAHA, 287 U.S.
45, 53 S. Ct. 55, 77 L. Fd. 758 (1932).
    A defense counsel must do his utmost to bring his legal acumen to bear on behalf of

the Movant; keep him fully informed of developnent in the case and consult with the

Movant on a11 major decisions to be made; conducted a reasonable investigation which
should include contacting potential witnesses; prepare adequately and professionally for
trial; and the ko ttom line, serve as a vigorous and devoted advogate on the Hovant's

case. U.S. EX REL PARTEE v. LANE, 926 F.2d 694, 7O2 (7th cir. 1991). And those rights
extends to appeal. EVITTS v. LUCEY, 469 U.S. 387, 406, 83 L. Ed. 821, 1O5 S. çt. 8/O
(1985)9 DOUGLAS v. CALIFORNIA, 372 U.S. 353 83 S. Ct. 814 (1963).
    As mentioned above in this j 2255, the Movant's attorneys did not provide him with
any reasonable assistance or any preparation for trial. Thus, he was forced to self
representation upon withdrewal of attorney Adelstein from the case. The Court refused to
provide the Hovant another counsel and falsely acussed the Movant of not cooperating
with the attorneys despite the case record not showing any material motion filed by the

attorneys. If cooperating with Court appointed attorneys is accepted guilty plea despite
innocence, or even despite the attorneys not conducting investigation, than the Court is
right, the Hovant could not cooperate with any one's attorney. Still, the Movant

exercised his sixth amendment right       a criminal case and requested the Court for
another attorney. The Court denied it.
     Ihe Nbvant asserts that he had never made         voluntary decision to represent
himself. Ihereforey the conviction and punishment of imprisonment in this criminal case
is invalid because the U.S. constitution guarantee a lawyer to Movant who was in this
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case, unlawful brought to trial. FARFrFA v. CALIFORNIA, 422 U.S. 806, 832, 99 S. Ct.

2525, 45 L. Fd. 2d 562 (1975).
    Ihe Supreme Court observed in other cases that where a defendant vehemently asserts
his rights, it is a decision to asserts one constitutional right instead of another.
MARSHALL v. ROGERS, 133 S. Ct. 1446, 1449, 185 L. Fd. 2d
                                 -                         540, 544 (2013).
     In this case,     COHPKFENCE HFARING was never held as to proper test could be
conducted to reviewed whether the Hovant had competency to stand himself in trial or if

the Movant was enduring any paranoid behavior for being placed in three different jails
during two years prior trial or even any medication was affecting in any way the Movant
capacitation to understading the 1aw or stand in trial. The competence hearing never

took place and the Court has never appointed any attorney to represent the Hovant on a
competence hearing to inquire the Movant competency. lhus, violated his sixth amendment
rights. UNITED STATES v. FRANCISCO MARTIN, case no; 11-6544, 6O8 Fed. Appx. 340, 2014

U.S. app. Lexis 6387 (6th cir. 2015). Not one attorney has truly inquired or conducted a
evaluation if the Movant, a citizen from Brazil, was competent to stand trail. And have
the standby attorney inquire or evaluate Movant's competency to stand and trial without

a lawyer, we would be here today. UNITED STATES v. BRYAN ROSS, (09-1952)9 and ROBERT
BURSTON (O9-186O)(Sixth Circuit 2012).
     The Movant did not ever unequivocally invoke his sixth amendment rights to self

representation because simply rejecting the representation of any one of the Court
appointed attorneys with whom conflict was clearly established due to attorney refused
to investigate the case or interview witnesses. The conflict has seriously inffected the
Movant's case, to include attorney Adelstein who maliciously dropped off the Movant

files unprotected in open Court. Anong those conflicts, the Movant outlined the hearing
held in front of Magistrate Judge Mattewman on July 2013, where the attorney himself
made official threats to send the Movant to hospital:...''if we end up in a fight, one of

us will go to the hospital and I assure you that will not be me'' (easy to say when the
Movant is in hadcuff and shackles).


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    The breakdown of communication and conflict between the Movant and attorney
Adelstein began in the early stage of his representation and continued after the
attorney together with bondsman David Rodriguez, conducted a orchestrated visitation to
Movant's family in Margate , Florida and took $16,000.00 with promises to get the Hovant

out on a $100,000.00 nebbia bond. The attorney had never filed a bond motion to Court as
the bondsman David Rodriguez complained and blame the attorney in his email sent to
Hovant at FDC Miami. David Rodriguez was later arrested in 2014 and charged in Broward
County for the offense of 3rd degree theft and sentenced to five years probation and
ordered to pay restitution to a11 victims including the Movant's family. However, it has

been fiver years and not one single payment was even made. See, STATE OF FLORIDA v.
DAVID RODRIGUEZ, 14O1443CF1OA. See also, RCGERIO        CHAVES SCEQTON v . ADELSTEIN,

062013CA017359A, (Fla Cir. July 19, 2013).
    The Court also contributed with the problem by abusing its discretion and ordered
the attorney Adelstein to continue in the case as a STANDBY COUNSEL despite the Movant's

lawsuit against the attorney which clearly established the conflict of interest. Later
the Court also wrongfully repeated the error by withdrawing Adelstein as        STANDBY
COUNSEL and appointed now as a STANDBY COUNSKL Chantell Doakes who the Movant had

priviously conflict.
    To compel the Movant who was charged with a federal crime to undergo a pretriat
with the assistance of an attorney with whom he had became embroiled in irreconcilable
conflict was to deprive him of the effective assitance of counsel whatsoever. BROWN v.

CRàvEty 424 F.2d 1166 (9th cir. 1970).
     In most cases, a claim of ineffective assistance of counsel is analyzed under the

framework set forth in STRICKIASD v. WASHISGTON, 466 U.S. 688, 687 (1964), which
requires a defendant to show a ''reasonable probability that but for counsel's

unprofessional errors, the result of the proceeding would have been differenpk Id. at
688, 694. However, where the record suggested or is clear that a criminal defendant has

been in this case, his substantial rights were violated.
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Both, the Supreme Court and the Eleventh Circuit have recognized that such claims should
be analyzed under UNITED STATES v. CRONIC, 466 U.S. 685, 694-696 (2002)9 HUNTER v.     -




MODRE, 3O4 F.3d 1066, 1069-1070 (11th cir. 2002). The Movant needs no reason in this
2255 to specifically show prejudice when he was completely denied counsel at a critical
stage his case is ''so fundamental'' a right-so essential to any fair proceeding-that its

complete denial is never harmeless. CHAPMAN v. CALIFORNIA, 386 U.S. 18, 23 N. 8 (1967).
In fact, the supreme court held in CROSIC that such circumstances ''are do likely to

prejudice the accused that the cost of litigating their effect in a particular case is
unjustifiedu. 466 U.s. at 648. The denial of counsel at any critical stage
proceeding renders the proceeding inherently ''unfair''. Id at 659.
     The Movant asserts that a1l the attorneys did not provide him with the minimum

effective assistancej because no investigation was ever undertaken, no discovery was
ever reviewed which included the fact that numerous cds were blank and the suanary
spreadsheets was inaccurate. The attorney did not interview any witnesses which included
Junio Silva, Ron Wolff, Snmara Moreira, and others.
     The Movant is now hereby requesting under this      2255, that the Southern District

of Florida Court to put the bias aside in the interest of justice and meaningfully
review al1 facts, records and evidence under this j 2255 as well as the entire case, and
without allowing anyone to put their thumb to tip the scale of justice, 1et a11 the
violation in this particular case be reviewed under the current laws and for once stop

this travesty of justice that has keset Movant for over seven years.

                 WHFTHER THE APPFAL AIQORNEY INEFFECFIVE ASSISTANCE DURING
                 THE DIRECT APPFAL VIOLATED THE MOVANT'S SIXFH AMENDHENT
                         RIGHTS CLAUSE TO IHE U.S. CONSTITUTION

     lhe Movant contends that during attorney Klugh's legal representation in this case,
he once only visited Movant for five Ainutes a FDC Miami where he asked the Movant what
he did to the Judge in order to receive such harsh term of imprisonment as a first time
offender. Nothing in this meeting helped the case or attempted to help the case. After
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the attorney spend one hour with a1l his other clients, he come up to the Movant and
introduced himself as the counsel who was appointed by the Court to handle the direct
appeal. Ihe attorney informed the Movant that he would takk to him on the following day.
Ihis never occurred.

    Adequate consultation between attorney and client is an essential element
competent representation of a criminal defendant. COLES v. PEYIDN, 389 F.2d 224, 225-26

(4th cir. 1968), cert. denied, 393 U.S. 849, 89 S. Ct. 8O, 21 L. Fd. 2d 12O (1968). See
also, ADAMS v. BALKCOMa 688 F.2d at 124. While the amount of consultation required will
depend on the fact of each case, the consultation should be sufficient to determine a11
legal relevant informntion known to defendant.
    Given the nature       this case and Movant's self representation during part of
pretrial and trial as well as the numerous undeniable violations, the necessity for

extensive consultation and/or connunication between the appeal attorney and Hovant was
obvious and necessary. The Movant was familiar with the case, the inaccuracy of the

surmary spreadsheets, the contradictory and prejured testimony given by governmentfs
witnesses, the Movant's fnmsliarity with fact set forth in numerous violation, he would
have been able to provide insight into the accurancy and veracity of the case.
     Ihe colmunication with the Movant was also essential to prepare and give in put to
the appeal brief and to obtain important information as to the most likely sources of
physical and material evidence which would corroborate his appeal.

     Given the facts and evidence under this j 2255 and the attorney's lack of
consultation with Hovant, which was totally inadequate during the entire pedency of the
direct appeal. The attorney had not taken into consideration any leads given by the
Movant or inspected the accuracy of the sllrmnry spreadsheets unalwfully presented in
trial by the government.
     The attorney lied and misled the Movant during the entire appeal which made the
Movant believes that he was appointed with the only mission keing to, sabotage the
appeal and to pursue personal motivation. In facty the appeal was affirmed. The attorney


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promised to review the Movant's draft brief and motion to release, insert his claims in
the final appeal brief, and allow the Movant to review the brief appeal BEFORE IT kAS
FILED with the Court. He lied and also misled the Movant with regarding to laws and
rules including the VERBAL AUDIO RECORDINGS to correct the transcripts. Here in this case,
one can only believe that this attorney was intentional appointed to this case and was
instructed to sabotage this appeal when it is so clear to see to many deprivation of
rights in this single defendant case.


          A) FAILURE TO FILE A MOTION TO RELEASE

    Ihe right to consideration of bail pending appeal exists after conviction. UNITRD

STATES v. BAIJDNE, 762 F.2d 1381, 1382 (11th cir. 1985)(per curiamltdefendant ''right'' to
bail pending appeal could not be assessed until after conviction). And bail pending
appeal need not determine whether it is likely that the defendant actually will prevail.

UNITED STATES v. GIAGOLA, 754 F.2d 989, 9O1 (11th cir. 1995). However, despite that on
many occasions the Movant asked the appeal attorney to file a motion to release pending
the appeal, attorney Klugh lied with false promise to file but failed to do so.
Consequently, as       result       attorney's   inappropriate   behavior, the Movant's

constitutional rights were violated. Had the Fbvant been released he would have gained
exculpatory evidence, reviewed documents, protected his family from being ripped-off by

$65,000.00 from attorney Kristy Figueroa Contrera; who promised to withdraw attorney
Klugh from the case and effective appeal the case, and most important, add his imput
   the appeal brief. Although is it the Court final decision to granted bail or not,
attorney Klugh prevented the Hovant from exercising his due process rights which
consequently violated the Movant's constitutional rights.



 2 The Hovant filed two motion to this Court in regarding the attorney Contreras
unlawful taken money from the Movant without signed contract and the false promises to
representation during the direct appeal. These motions still today pending in the dkt.
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          B) TRANSCRIPT VERBAL AUDIO RECORDING
    On December 23, 2014, the Nbvant sent to attorney Klugh a letter after finding
errors ad manipulation in the trial transcripts which the Movant requested attorney Klugh

to correct by using the verbal audio recording. Instead of do what the law require the
him to do, on November 3, 2014, the attorney again engaged doing lies and continued to
exercise his sinister plan by telling the Movant that in federal Court there is no VKRBAL

AUDIO RECDRDIG. See, HICKENS v. TAYLOR, 535 U.S. 162, 166 (2002)9 SARROCA v. UNITED
STATFS, 250 F.3d 785, 7/7-88 (2p4 ç$y, 2001);FLORES-ORTESA, 528 U.S. at 480) BLANKENSHIP
v. JOHNSON, 118 F.3d 312, 318 (5th cir. 1997); REYNOLDS v. CHAPMAN, 253 F.3d 1337, 1347
(11th cir. zoolllconflict of interest affected performance because was prevented from
raising reasonable defense in defendant's favor).
    Attorney Klugh performnnce fell below to objective standard of reasonableness, and
his performance prejudiced the Movant, resulting in an unrealiable and fundanentally
unfair outcome of the appeal. STRICKLAND v. WASHINGIDN, 466 U.S. 668, 687-88 (1984);
GLOVER v. UNIIED STATFS, 531 U.S. 198, 201, 2O4 (2001); VIRGIL v. DRETICE, 466 F.3d 598,
613 (5th cir. 2006)9 GFNTRY v. SERVIER, 547 F.2d 838, 857-52 (7th cir. 2010).
    lhe attorney failed to correct the trial transcripts including the cross-exanination
   Hovant's wife and the numerous errors which cleary demonstrated the Court reporte's

difficulty in understand the Movant accent. The attorney failed to inspect and review the
discovery evidencing and documents given to him which clearly demonstrated that the
attorney did not have the best interest in defending the Movant by only offering his
orchestrated ineffective assistance during the appeal.


               ATTORNEY MISPLACED AND LOST HOVANT 'S CASE FILE

    On Many occasions after the appeal Court confirmed the conviction, the Movant asked
the appeal attorney to return all the case files including the discovery. lhe attorney
claimed that he didn't have any of these requested material which clearly demostrated

that the attorney had never reviewed anything as requested prior to filling his worthless
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appeal brief. lhe attorney only relied on the manipulated transcripts of trial to appeal
the conviction and did not bother to inspect the inaccurate unlawful suauary
spreadsheets. lhe attorney knew from day one when he took this case that his
representation was given intentional ineffective. STRICKLAND v . WASHINGTON, 466 U.S. 668,

687-88 (1984). By refusing to inspect the case files and discovery including the
inaccuracy of the government's summnry evidence, the attorney failed to included in his

brief numerous BRADY issues, which consequently precluded the Movant to a fair appeal.
    Anoung those BRADY issues, the attorney failed to argue as requested by the Hovant,
that during the detention hearing on March 29, 2012, the prosecution showed to Court an

undated and unsigned letter purporting to be       final denial decision from the U.S.
Citizenship and Lanigration Services order denying       the Movant's 1-485 application .

However, :2 DECISION FROM IHMIGRATION WAS ISSUED A; THE TIME .
                                                             Q.Y THE
HEARING, MXRCH 29, 2012. Also the magistrate Judge Snow's detention order stated that
according to the informntion given by ICE, the Movant was current appealing his 1-485
application.
    On Numerous occasions, the Movant request that documents refered by the Magistrate
Judge which stated that the Movant was, before the hearing, appealing his 1-485 denial.
lhe information was never provided as requested by the Movant.

    Attorney Klugh was requested to appeal this BRADY violation during the direct appeal
because the government used the Hovant's igmigration issue and his pending INS

application to make the Court denie his right to bail.
    Furthermore, the government akledged that the Movant had gave false statement in his
1-485 application and unlawfully cbarge the Movant twice for the same offense as to count
28 and 29.
    Attorney Klugh was asked to inpect the Movant's A-file which are redacted and to

compel the government to turn over the missing BRADY informntion.
     lhe A-file may have contained exculpatory evidence that the government had never
handed over to the Movant, thereby undermining his due process rights and undermining the


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integrity of the trial. HONROE v. ANGH DNE, 323 F.3d 286, 3OO (4th cir. zoo3ltundisclosed
çvidence favorable to accused because it could have been used to impeach government

witnesses); UNITED STATES v. BLAND, 517 F.3d 930, 934 (7th cir. 2OO8)(materia1 related to
            -




accused would impeach creadibility).
    Ihe government withheld information contained         the A-Fi1e undr      U.S.C.

552(b)(3), (b)(6), (B)(7)(c) and (B)(7)(e).
    because the goverment accussed the Movant as set forth in count 28 and 29, he
entitled to have a complete record of all documents from his A-File.

    Attorney Klugh failed to included in his appeal brief this BRADY violation and
failed to compelled the unredacted A-File.

    Attorney Klugh failed also to include in his appeal brief, as requested by the
Movant, the blank cds discovery which goverment alleged to have the summary spreadsheets

and original business records. (See, DE-511:126-127-128-1299 DE-470:92-93-94; DE-47O:1O4-
105).
    The trial Judge ordered the government during the trial to provide the Hovant with
new cds to replace those blanks. Thus, because the Movant was never afforded reasonable
time and place    inspect the summnry spreadsheets for accuracy, the introduction of the
sulnnry were made unlawful and consequently the Movant was deprived to a fair trial.

lhose summary spreadsheets introduced in trial were seriously prejudice against the
Fbvant because they tremendously increased his term of imprisonment based on inaccurate
evidence.
    Despite that the trial Judge falsely mentioning on record that the government had
given the business records to Movant, the cds itself show that was not given to Nbvant.
In fact, witnesses testified that the business record did not exist. Hence, the appeal
attorney never inspected the cds as requested by the Movant nor had inspected the
accuracy of the suanary spreadsheets. Thus, he failed to appeal this issue, thereby, the
attorney provided ineffective assistance during the direct appeal.
    Höreover, the government alledged that the Hovant had created unauthorized FedEx


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account under the name of a New York based company named R%H Photo Video. In reality, the
account was legitimately opened by the owner of b:H Photo Video in 2001. And was opened
before the Movant established his online business. R%H Photo Video, had a similar website
to Movant. In fact, R:H Photo Video website contained pages in Portuguese and also had
shipping service to Brazil. The government's own witness testified that knew the account

was legitimately opened by R%H Photo Video company. (See, DE-475:38-399 DE-475:28-29).
         Under the government spreadsheets ''b%H Photo Video accounp'1 there was 73 invoices
                                                                                     .



montioned of packages alleged to have been shipped by the Hovant. Among these 73 invoices
mentionedy there was 93 REPFATFD INVOIGFS under the R1H Photo Video su-nnry spreadsheet.
Ihusrthere is not business record that would validate the spreadsheets or any record that
instead of the R:H shipping packages under they own account, the Movant has used they
account.

         Attorney Klugh failed to included this troubling and serious BRADY v. HARYLAND, 373
U.S . 83, 83 S . ct. 1194 , 1O L .
 .   -   --       .   -       -   .    F.d. 2d 215 (1963), in his appeal brief, nor lzave the
attorney attempted to inspected the inaccurate goverment summnry spreadsheets.


                D) ATTORNEY FALIED T0 REQUEST T%O LEVEL REDUCTIOS PMRSUANT T0
AHESDMENT 79J
         The Movant contends that on many occasions he request his attorney to argue during
the appeal process the two level reduction on the changes to the monetary table

pursuant to j ZBI.I.
         lhe Hovant contends that a conviction becames final once the judgment      rendered
and the defendant exhausts            direct appeal, and the time for filing a petition for

certiorari on direct review lapses. TEAGUE, 489 U.S. at 295 (citing AIJEN v. HARDY, 478
U.S. 225, 258 n.1 (1986)(percuriam)). See also, PENRY v. LYNAUGH, 492 U.S. 302, 314-15
(1989) a brogated on other grounds by ATKINS v. VIRGINIA, 536 U.S. 3O4 (2002)9 MCCLDUND
v. HOOKS, 56O F.3d 1223, 1229 (11th cir. 2009). Thus, had the attorney included in his
appeal a brief to this claimy the Movant's sentence would have been reduced and the
Hovant could have been released from prison. Because the attorney failed to effectively


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appeal this case, the attorney's ineffectiveness made the Hovant endure unnecessary
incarceration time. Consequently to this failure to provide effective assistance, the
Nbvant's sixth anendment rights were violated.


          E) A4NVCE TO AXPEAL THE LOWER COURT PENIAL YOXANT'S COMVULSORY
RI;PT TO INTRODtCE WITNESjE;

    The Movant had requested his appeal attorney to appeal the Court's denial of the

Nbvant rights to compulsory introduce 29 witnesses to testify in trial. lhe Judge abused
her discretion when she denied the Hovant his 29 subpoenaed witnesses by saying that the

jury was seating on trial to long and that she had already seen the government's case
which there was no reason to bring 29 witnesses to testify. Here one can only believe
that GUILIY VERDICT was reached already despite the Movant not presenting his case. The

trial judge engaged in explicit and unconstitutional act to prevented the Movant from his
substantial rights to present witnesses. Once, again, the appeal attorney failed to
appeal clear violation tbat occurred in this case.

               GIGLIO VIOLATION

    Pursuant to 18 U.S.C. j 6001 and j 6003, immunity in exchange for testimony to the
government witness can only be obtained if granted by the Court. UNITED STATES v.

DONAHFRY, (19761 CAS FLA) 529 F.2d 831, and the government must provide a defendant with
the list of a1l witnesses that were granted immunity before trial. UNITED STATES v.

BRIGHTON BLDG & MAINrfNANcE CO., 434 F. Supp. 222, 1977 U.S. (1977).
    Ihe Hovant contends that he had asked the appeal attorney to included in his appeal
brief the GIGLIO violation whic occurred in this case during the Hovant's wife cross-

exanination. (See, DE-474:22). When the Movant inquired about igmunity for his wife, the
government objected and the Court called sidebar. (DE-475:22). At sidebar, the government
denied to give immunity to Movant's wife despite the fact that Movant introduced as

evidence,   letter with the government on August 26, 2013, attached to a plea agreement

offered to Movant. (See, DE-474:22; DE-474:23). Later, after the government ended the
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cross-examination of Movant's wife, the trial Judge called another sidebar and further,

engaged in telling the government to correct the misconduct which occurred in front of
the jury. The prosecutor then began to engage in numerous questions leading the Movant's
wife to anwser and convince the jury that immunity was granted despite that the
government's denial. (DE-474:22-23). lhe Movant objected the sideshow and the perjury
testirony. Thus, in the end, the Court allowed the jury to believe that immunity was
granted to Hovant's wife, despite the government's denial. Ihe Movant was denied fair
trial and a guilty verdict was imposed even before trial kagan.

     In this case, the government duty to present al1 material evidence before trial was
not fufilled and the Hovant due process rights were violated. NXPE v. ILLINOIS, 36 U.S.

264, 3 L. Fd. 3d 215, 83, S. Ct. (1963).
     Ihe Hovant vigorously cross-examinated his wife seeking to discredit her testimony
by revealing the possible agreement or arrangement for leniency in any possible offense.
Ihe trial Judge did not undertake to resolve the conflict          the government letter
mentioned igmunity and the fact that the Fbvant was still married to Ms. Hollinedo. Ihus,
the Hovant due process was violated. Ihe immunity was not requested from the attorney
general or designate office of the DOJ. UNITED STATES v. DODDINGTOS, 822 F.2d 818, 1987

U.S. app. 885 (1987). Hence, the record and the statement given by both, the prosecutor
and Hs. Mollinedo reflected different facts from what the Court allowed the jury to
believe. USITED STATES v. HOOK, 848 F.2d 785, 1988 U.S. appx Lexis 7966, 88-1 (1988).
     In this case, immunity did not follow justice department guidelines and consequently
Hovant's constitutional rights were violated.


                RECRUIT CO NVICTED INHATE

     The Movant contends tha he requested his appeal attorney to included this issue in
his appeal brief which the attorney ignored and failed to do so.
    A proffessional snitch, John Jackson, Movant ex-cell-made at FDC Miami IO-E, had
received in two previous occasions a sentence reduction based in two motions of rule 35


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file by the government. Jackson, was recruted by the government with the sole purpose
of sabotating Hovant's pro se defense by taking from Movant boxes of important
documents and to provide informatim on the Movant's preparation including his
witnesses list. Jackson have suppress numerous exculpatory document from Movant's cell
and provide such to the FBI agent Vanbrunt. In fact, upon receiving the witnesses

list, three of the defense witnesses received visitation from the agent and
subsequently kecame the government witnesses under intimination.

     Jackson was previous sentenced to 97 months imprisonment for health care fraud
and ordered to pay over eleventh million in restitution. He served only 22 months
before re-sentenced to time served after receiving two motions under rule 35 filed by
the government.

     This type of prosecutorial misconduct justifies the reversal of the conviction
and dismissal of the case where it so to infected the trial with unfairness as to
resulting the conviction denial of due process. BARDEN v. WAIERIGHT, 477 U.S. 181
(lg86ltquoting DONNELLY v. DE. CHRISTOFORO, 416 U.S. 637, 643 (1975)).
     Ihe record and evidence clearly established       that agent Vanbrunt was in
cogmunication with Jackson. In fact, unlawfully the agent entered the Movant's
Fbther's apartment complex walked       the second floor without a search warrant,
entered the storage room and took the DVR containing the Hovant's intimacy video with

wife Mollinedo.

     The Movant contends that he had provided this information to the appeal attorney
which included the affidavit of two other inmates who had knowledge of Jackson taking
documents from Movant's box and handing such to FBI agent during the visitation at FDC

Miami. Thus, the appeal attorney provided ineffective assistance during the direct
appeal and consequently, the Movant's sixth amendment rights were violated.


         H) THE ATTORNEY FAILED TO CHALLENGE THE MAIL FRAUD OFFENSE
                                     UNDER      U .S .C . s    1

      The Movant contends that the government wrongful alleged that Movant committed


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mail fraud under 18 U.S.C. j 1341 because FedEx, UPS and DHL are not the recipient for
purpose of j 1341.
    The Movant ran a legitimate registrade internet retail store under his own name

throughout the Brazilian cogmunity and in Brazil where none of his clients have evern
been defrauded or have ever lodged a complaint against the Movant. The allegation on the
indictment however, stated that the Movant used FedFx, UPS and DHL shipping service to

ship to his retail clients packages without Mpaying the shipping cosuk ls such, it is
no surprise that the jury was confused about this entire orchestrated prosecution and
sought guidance from the Court as to what crime had actually been connitted during the
deliberation and after of five week of trial. There was no record that a explanation in
response to their questions addressed in a note were given. UNITED STATES v. HEWERS, 729

F.2d 1302, 1320 (11th cir. 1984)9 UNITED STATES v. HASSON, 333 F.3d 1264, 1270 (11t#
cir. 2003).
    The Eleventh Circuits holds that, MEtjhe mail fraud statute 18 U.S.C. j 1341, does
not define what constituted a scheme to defraud. In the absence of a statutory

defination, the Court had provided a judicial framework for conceptualizing a fraud
scheme''. BRADLY v. UNITED STATES, 644 F.3d 1213 (11th cir. zollltciting UNITED STATE/ yr
PFNDERGRANFI', 297 F.M 1198 1208 (11th cir. 2002)(''(tlhe meaning of such scheme to    -




defraud has been judicial definedfl).
     In defining a scheme to defraud, the judiciary did what congress could not
effectivelly legislate bills of attainder any ex post fact of law.
     Therefore, congress's akoication of its duty to define criminal conduct resulted in

the judiciary creating a typical-for-lawyers imprecise definition of a scheme to defraud
as a nreflection of normal uprighteness of fundamental honest, fair play, and right

dealing in the general business life of a member of society'k BRADLEY, 644 F.3d at
lziolquoting GREGORY v. UNITED STATES, 252 F.2d 104, 1O9 (5th cir. 1958) which inturn
quotes (HAMMERSCHITIMAT v. UNITED STATES, 265 U.S. 182, 188 (1924). In fact, the
judicial defines a fraud as what 12 members         jury believes is fair. A paradigmic
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example of vague; a definition that charges with each jury. Hore precisely, the
definition is even more amorphous, because the element's definition really is determined

by what a panel and honest dealing in a particular cornmnity or trade.
      To be sure this system-all-system on the experience, intellect, and common sense of

humnn being       decise uncertain facts. The hallmark of facts           they can a last

theoretically be proved or disproved, and minimally the must be subject to prood. The
concepts of fair play and honest dealing are more ftuid and not subject to proof.
      In this case, the Court could not more identify the boundaries         a fraud than
congress could. Thus, the Court adopted notary, and ''it depends'' analysis, but

transferred responsibility for defining the crime allegedly to the jury. In fact, the
jury note suhnitted during delikeration has presented substantial doubts and failure to
finding the elements of crime which was alleged on the indictment. Thus, the judiciary's
slippery definition had the effect of kicking fe can down the road to the jury. The jury
now decides what legislated fraud is; whaterver the jury believes is not morally uprigh
or      unfair or is dishonest. Although for the first amendment concerns it may be al1
right for the finding facts to decide what something is when ''they see

     Here in this case, the government failure to provide a proper, precise definition of
schane to defraud invalides the fraud statutes as being impermissibly vague, forcing a

jury to make      post hoc finding about what is a scheme to defraud. Thereby, rnking
arguably legal conduct criminal; and more abstractly permitted 12 unelected-citizen-to-

define-criminal-conduct; and impermissible (unconstitutional) delegation of legislative
duty.
      The Movant challenges his conviction under 18 U.S.C.      1341 because      was not
''money and property'' within the meaning of the mail fraud statute. Rather, here in this

case the government lodged allegations of billing issue which the companies failed to
present the detailed business records or have made any attempt                cotlect any

outstanding invoices from the Movant. UNITED STATES v. LONEY, 959 F.2d 1222, 1337 (5th
cir. 1992). Following the logic, the mail fraud would not extend to a fraudulent scheme


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to include a seller to sell a product at a discounted but still profitable price because
the seller would not have made any profit at all but for the fraud. However, in this
case, the government alleged that on 27 occasionsy the Hovant shipped 27 packages under

his own accounts or others entitled accounts without authorization and CAUSE THOSE ià
PACKAGES J2 #ï DELIVERD which allegedly caused losses for the companies. However, those
27 packages refer to the ?; counts was presented in Court during trial. Thus, those
packages were not delivered as alleged and therefore, could not cause a losses or be
considered a loss for those companies.
    The government failed to prove lossess or mail fraud under            1341.     facty the
amount derived from the calculation is clearly in error. The Court used the face value
based on unverified and inaccurate spreadsheets and contractory testimony.

    Ihe Supreme Court has held in other cases that j 1341 properly defined a criminal
scheme to defraud that involved bribes or kick kucks. Thus, intent to defraud by causing

mail to be delivered based on allegation that the shipping service used was not payed
does not falls under j 1341.
     Furthermore, the jury instruction given          this case are invalid under       1341.
YATES v. Usl'
            I'ED STATES, 354 U.S. 298, 312
                                       .     77 S. Ct. 106q, )..1t. :.
                                                                     4 yd 7..
                                                                            756..
     Pursuant to SKILLING v. UNITED STATES, 558 U.S. 13O S. Ct. 393, 175 L. Fd. 2d 267

(2009), the Movant's conviction could not stay and the indictment rested in part, on an
improper construction of ''mail fraus'' to defraud by causing mail to be delivered only

based of billing issue. See, 18 U.S.C. j 1341. Compare SKILLIHG where it is similar
present in the case. In this case, the government and appeal attorney advise and

interpretation of j 1341 previously rejected by the Supreme Court's opinion in SKILLING.
During the trial, the government rendered two theories that in not a finding factual
element of crime under the meaning of mail fraud. Whether shipping account was used or
created to be used without authmn'TmG œ ,   these is related to a billing and does not rank

the purpose under j 1341. YATE v. UNITFD STATFS, 354 U.S. 298, 312, 77 S. Ct. 1064, 1 L.
Fd. 2d 1356(1957); SKILLING v. UNITED STATES, 556 U.S. 13O S. Ct. 393, 175 L. Ed. kd 26;

                                            (36)
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267 (2009);WE'
             YI'EAUWIv. W ITED STATES, 97 L. F# yd 7@2, q83 U.S 35O (1987).
                                                               .
                                                                   .




                          THE INDICTMENT FAIL TO STATE AN OFFENSE
                              FFD. R. CRIH. P. 12 b 3 B

    Federal Rule Criminal Procedure 12(c)(1), states that an indictment must be a ''plain,
consice, and definite written statement of the essential facts costituing the offense

charged.
    The Hovant contends that the indictment in this case fails to state a offense under
j 1341. There is numerous contradictory allegations lodged on the second superseding
indictment whioh the Movant attorneys had failed to investigate and dispute.
    On page five of the indictment, the government alleged that the manner and means by
which the scheme and artifice was accomplished including that Hovant would offer

merchandise through his internet retail website. However, the allegation fails under j
1341 kecause none of the recipient was deprived of property or money in this case for
purpose of the statute.
    Furthermore, the allegation also included that the Movant would open accounts with
FedEx, UPS and DHL under names of established companies and use those accounts to ship
packages for his online clients.
    Ihe indictment also alleged that the Movant would open accounts with FedEx UPS and
DHL under his own name which he incur large bills and would not pay the invoices.
    The Movant contends that those allegations also failed in the regulatory hands.

See, 18 U.S.C. j 1341.
     Ihe Hovant contends that on page       of the second superseding indictment, the
government alleged that the Fbvant, for the purpose of execulting and in furtherance of
the scheme and artifice, did knowing CASE TO BE DKLIVERED certain matters and things by
private and cogmericial interestate carrier.
     As mentioned before, those 27 counts were presented in Court, therefore, the theory
of been delivered is false. Moreover, there is no lost amount mentioned from those 27


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counts (packages) under the indictment nor in the inaccurate spreadsheets whatsoever.
lhus, these 27 counts failed under j 1341 because 1) for the furtherance of the scheme
the 27 counts alleged to be mailed failed for the purpose of j 1341 since FedEx, UPS and
DHL are not the recipient;          the 27 counts were never delivered and therefore lost
amount did not exist for purpose of j 1341, and                      numerous allegations on the
indictment is contradictory including count 2, citix account, R%H Photo video aacount
and Rio Motor Sport Account and others allegations is false.
        as mentioned above, count         alleged that a package was shipped before under a

account before the account was even opened. Also the alleged account under Rio Hotor
Sports mm / e     uut ux first         '
                                       s'       after the account was in fact, closed. Thus,

those allegations was presented to the jury and are founded to be false and fail under j
1341 for purpose of the statute. CARL W. CLFVH ANS v . UNITED STATES, 531 U.S. 12, 148 L.        -




ed 2d 221, (2000).
           this casej the government reading of             1341, invites the Court to approve

expansion of federal criminal jurisdiction in the absence of                   clear statement by
congress. Fquating, issuance of a shipping account or shipping services with depravation

of property would subject to federal mail fraud prosecution a wide range of conduct
traditionnally regulated by authority. Unless congress convenys it purposes clearly,
this Court cannot read a statute to significant crime. JO5ES v. UNITED STATES, 529 P.S,
548, 858, 46 L. Ed. 2d 902, 12O S. Ct. 1904.

        The government allegation on the indictment contradicted the statute which stated
''any    scheme   or   artifice   to      defraud''   and    ''any    scheme   or   artifice.o.for

obtaining...property by means of false...represention'k Proceeding from those arguments,
the government unconstitutional arguments that shipping accounts is property. Hence,
MCNAILY     refuse to construe      the    two phrases      indentifying   the prescribe scheme
independently. 483 U.S. at 358, 97 L. Ed. 2d 242, 1O7 S . Ct. 2875. Indeed, MCNAIJY

explained that j 1341 had its origin in the desire to protect individual property right
and that any benefit the government derives from the statute must be limited to the


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government interest as property holder. Id, at 395 N8, 47 L. Fd. 2d 292, 1O7 S. Ct.
2875. Shipping services does not qualify as ''property''within j 1341 compass. I does not
suffice, we clarify, that the object of the fraud cny became property in the hands of
the currier companies. UNITED STATES v. SHOTTS, 145
                       -   - -      -                 F.3d 1289, 1296 (CA11 1998)) UNITED
STATES v. SCHWARTZ, %;q F.2d A1Oy q18 (CA219q1); UNITED STATS v. GRANBERRY, 9O8 F.2d
278, 28O (CA8 19qO);TOlRARI v. UNITED STATES, 875 F.2d 122, 125 (CA 1989) UNITED STATES
V. DADANIA, 856 F.2d 1391 (CA9 1988). Although the government relies in part on the
assertion that the Hovant obtained property by means of false representation from FedEx,
UPS and DHL by using their shipping services without paying, there is nothing in the
charges that requires such finding.

    The congress intent in the use of mail fraud statute was to prevented the used of
mail in furtherance of such scheme. UNITED STATES v. BASS, 4O4 U.S. 336, 347, 30 L. Ed.

2d 488, 92 S. Ct. 515 (1971). There is no construtive offense in this case. And before
punishes the Hovant by sent him to prison to serve a 1O8 onths term, the Court should
have reviewed first those contradictory allegations set forth on the second superseding

indictment and the inaccurate spreadsheets because this case           plainly within the
                                                            d. 443, 47 k. % . 2OO
statute. FM ULO v. UNITED STATES, 272 U.S. 62O, 629, 71 L. F.                    .




(1926).
     lhe Movant contends that none of the Court appointed attorneys have inspected or
argue the contradition set forth on the indictment or in the inaccurate sugmary
spreadsheets which    now at bar for review. Ihe Movant asserts that he had received
ineffective assistance by a1l attorneys and that the attorneys ineffective assistance
violated his sixth amendment rights clause of the U.S. constitution.


              WHETHER THE FBI AGENT VASBRUNT V IOLATED THE HOVANT 'S
                                 9MPULSORY CLAUSE TO A FAIR TRIA:
     lhe Movant contends that requested his appeal attorney to included in f. appeal brief
that agent Vanbrunt had intimidated witnesses and consequently the Movant was denied
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fair trial. The attorney failed to do so.
    The compulsory process clause of the sixth amendment rights provides   that ''Eiln a1l
criminal prosecution, the accussed shall enjoy the right...to have compulsory process
for obtaining   witnesses in his favorn. U.S. CONST. AMEND. VI. Ihe right to compulsory

process encompasses ''Etqhe right to offer the testimony of witnesses, and to compel
their attendance if necessary''. WASHINGTON v. TEXAS, 388 U.S. 14, 19 (1967).
    In this case, agent Vanbrunt engage in explicit uncostitutional acts with the only
intention to prevent the Hovant from presenting exculpatory testimony of key witness
Junio Silva by telling him that he has to testify against the Movant as he is guilty.
When Junio Silva disagred to testify and mentioning that the Movant has done nothing
wrong, the agent intimidated and threatened Junio Silva by saying that he would focer

him under a federal subpoena and that he was forbidden to talk to the Movant. Horeover,
before living Junio Silva's house, the agent told Junio Silva that with him or without

him, he would mfœ sure that the Hovant would go to prison and after serving his term, he
would be outside waiting to deport the Movant from the United States.
    Ihe agent made the same statement to Claudia Scotton and Carlos Colon. lhose
witnesses free unhampered choice to testify was interfered by agent Vanbrunt.
    The Hovant also contends that agent Vanbrunt made false report akout Junio Silva in
order to Jnke the Movant withdraw the witness by making the Hovant believe that Junio
Silva was against him. Recently, the agent's report was showed to Junio Silva who denied
ever geking any negative statements toward the Movant which was evident in agent's

report.
     Ihe agent further called another witness without authorization in order to prevent

this witness from testifying. (See, DE 478:56).
     Defense witness Ron Wolff's free and unhnmpered choice to testify was interfered by
Vanbrunt's illegal and unauthorized intimination phone call to the witness.

                      SCOIqON: ''did yo receive any call from FBI agent Roy Vanbrunu'?
                      WOLFF: I have receive calls from people regarding this case in the
                             last week or so, yes.


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                       SCEqTON: and the FBI called you too?
                       WOLFF: I do believe the FBI call me.
                       SCOTTON: ...''calls that you have received the last couple of days
                                 of prosecutqr or FBI?
                       WOLFF: ''Roy VanbruntM. I receive a call by the FBI agent name Roy.
                       Scgrr0N: and did you talk about the report?
                       WOLFF: yes I did.

(See, DE-480:84-85-86-87-88). The agent lied and denied ever talking to Mr Wolff. (See
DE-478:56).
        Mr. Rolff would testify and provide crucial evidence that Mr. Osvaine Duarte, the
third party shipping company that handled the Movant shipments, had used Hr. Wolff
business FedEx account without authorization. Mr. Wolff further would presented the
police reports he made with NY-PD and Sand Springs PD regarding Duarte using his FedEx
account.

        Given this clear and drnmntic evidence of prosecutorial misconduct, the Movant
asserts that his constitutional rights to a compulsory fair trial were violated.

        Supreme Court has established that the government violates due process when its

conduct ''effectively drgives a) witness of the stand''. WEEB v. TFXAS, 4O9 U.S. 95, 98
(1972)(per curiam)(holding right to present a defense wa s v iolated when trial Judge
                                                           -     -




single out and admonishes a defense witness about              the risks of prejury in
''
 unnecessarily strong termn).         fact, under WEBB, ''Eiqt       well established that
substantial government interference with a defense witness's free and unhampered choice

to testify anount to a violation of due process''. AYALA v. CHAPPH JU 829 F.3d (1081,
1098 (9th cir. 2016)(quoting FARP v. ORNOKIS, 431 F.3d 1158, 1170 (9th cir. 2005)).
Although WEEB dealt only with judicial misconduct, wrongful conduct by prosecutor or
1aw enforcement officers can also constitute substantial government interference with a
defense witness's choice to testify. See, e.g. UNITED STATES v. VAVAGES, 151 F.3d 1185,

1189 (9th cir. 1998)('%tjhe conduct of prosecutors, like the conduct of Judgesy is
unquestionably governed by WEBB''I; UNITED STATES v. LIITLE, 757 F.2d 1420, 1439-40(9th
cir. 1954)(analyzing
        -   -           claim of defense witness intimidation by IRS agent); See also,
AYAVA,-824 F.3d at lllllexplaining that allegation of witnqss intimidation by detective,


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taken as true, would amount to constitution violation).
       The Supreme Court has also made clear that ''the sixth amendment right does not by
its terms grant to a criminal defendant the right to secure the attendance and testimony
of any and all witnessf', but only witnesses in his favor. UNITFD STATES v. VALENZUH A-

BERNAL, 458 U.S. 858, 867 (1982)(emphasis in original).
Had Junio Silva been allowed          testify without intimidation, he would have provided
material testimony as to Osvaine Duarte shipping business for him as well as the Movant.
Junio Silva would also testify and affirm that the Movant's marriage was not false as
Junio Silva himself spend time with the Movantîs family before.

       Those witnesses along with the 29 denied by the trial Judge Court would have

allowed the jury to have a substantial defense theory. CACOPERCADO v. DEMOSTHEVRS, 37
F.3d 5O4s 509
 -      --     -   (9th cir. 1994)(ho1ding sixth amendment witness interference claim fails
without showing of relevance      and materality). Those crucial witnesses above testimony
                                  -




would have been favorable and material. Thus, the agent unconstitutional behavior caused

those witnesses not to testify. AYALA, 829 F.3d at 11119 BOHN, 622 F.3d at 1138 (quoting
WILLIAH v. WOODFORD, 394 F.3d 567, 601(9th cir. 2004). Had those witnesses been allowed
to testify, they would provided clear evidence that would tends to ''cast doubt'' on the
government's case, qualifies as material. UNITED STATES v. I
                                                           ZFAL-DEL CARHEN, 697 F.3d

964, 972 (9th cir. 2012)9 See also, GOVT OF VIRGIN ISLAND v. HI1,
                                                                I-G, 956 F.2d 443, 446
(3rd cir. 1992).
       The attorney appeal failed to include in his appeal brief this serious violation.
Thus, he has provided ineffective assistance during the direct appeal. Consequently, the
Movant's constitutional rights were violated.

       Finally, the Movant point out the numerous unlawful denial of due process made by

Judge Federico A. Moreno during almost five years. His bias has seriously prejudice the
Hovant who has endure unlawful incarceration time. Thus, makes those claims in this
     2255 more serious because the Movant has been denied due process rights clause of the

U.S. constitution.


                                             (42)
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    The Movant contends that since Judge Moreno was appointed to this case on June,
2014, the record shows numerous motion denied without due process. It is reasonable to
say that had the Court lawfully and properly review the Movant numerous motion, there is

a possibility that he would have different outcome in this case as well as been release
from prison. Thus, for almost five years, the Movant was denied due process rights and
consequently have endure unlawful incarceration time.
    Ihere absolute nothing that could fix al1 the inappropriate behavior of the Judge.
Thus the violation is clearly established which degend the conviction vacated and this

case dismiss with prejudice.


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     The Hovant has endeavored to bring justice to his case and prove that this case
should have been dismissed seven years ago since the indictment failed          state a
offense and the amount of prosecutorial misconduct in this single defendant case.
     Nonetheless, after seven years, the Movant bring to the Court's attention multiple

judicial errors       law, misrepresentation of evidence, contradictory and perjured
testimony) prejured testimony, due process violations, bias, abuse of discretion which
when combined cause extreme prejudice to the Movant.
     lhe result lead to a guilty verdict for a wrongful alleged crime he did not
cogmitted. The public reputation toward the U.S. system is forever affected.
     Iherefore, the Movant moves the Court of Southern District of Florida in the

interest of justice      grant an emergency evidentiary hearing without any delay and
without allowing anyone to put their thumb on the scale of justice. 0n the evidentiary
hearing and upon proving his claims, this Court should dismiss the case with prejudice
and restor all the Movant's rights and mostly important his freedom which was unlawfully

taken seven years ago.


                                        (43)
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    Ihe Movants urges this Court to grant an emergency evidentiary hearing because the

Hovant has already served substantial time incarcerated under serious constitutional
violations. Thus, the Hovant sentence is now short, and if takes the normal time for the
Court to rule in this S 2255, takinf into account those errors, bias, violation of due
process rights set forth in this case, this appeal would be nugatory and worthless.



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                                              NO: 99 70-004
                                          D. RâY JAMES C.F.
                                          P.O. BOX 2000
                                          FOLKSTON GA 31537



                                 PROOF OF SERV ICE
     I Rogerio Chaves Scotton, do certify that on this May 16, 2019, I have served the
attached suplement memorandum (which is under the Hovant's constitutional rights) on the
Southern District of Florida in the above proceeding. I have served this supplement
memorandum via, United States Postal Service (USPS) certified mail through, D. Ray James
C.F. legal mail.




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